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FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. Crim. No. 18-CR-32-2 (DLF)
CONCORD MANAGEMENT AND

CONSULTING LLC,
FILED EX PARTE AND UNDER SEAL

Defendant.

GOVERNMENT’S MOTION TO SEAL

The United States of America, by and through undersigned counsel, respectfully requests
that the Court permit the government to file under seal a notice regarding a superseding indictment
as well as this motion. In support of its position, the government states as follows.

The Court has the inherent power to seal court filings when appropriate. United States v.
Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,
435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435
U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the
decision whether to permit access is best left to the sound discretion of the trial court in the light
of the relevant facts and circumstances of the particular case).

While there is a “strong presumption in favor of public access to judicial proceedings,”
Johnson v. Greater SE Cmty. Hosp. Corp., 951 F.2d 1268, 1277 (D.C. Cir. 1991), that
presumption is not absolute. In Hubbard, the D.C. Circuit identified six factors “that might act
to overcome this presumption.” United States v. Harris, 204 F. Supp. 3d 10, 16 (D.D.C. 2016).
They are: “(1) the need for public access to the documents at issue; (2) the extent of previous
public access to the documents; (3) the fact that someone has objected to disclosure, and the

identity of that person; (4) the strength of any property and privacy interests asserted; (5) the
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possibility of prejudice to those opposing disclosure; and (6) the purposes for which the
documents were introduced during the judicial proceedings.” Jd. (citation omitted).

Here, the Hubbard factors weigh in favor of sealing the notice and this motion. The notice
states that the government is opening a matter in the grand jury for the purpose of seeking a
superseding indictment. That information is a “matter occurring before the grand jury” subject to
the secrecy provisions of Federal Rule of Criminal Procedure 6(e). For that reason, the Hubbard

factors weigh in favor of sealing both filings.

Respectfully submitted,

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